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                              UNITED STATES DISTRICT COURT

                          NORTHERN DISTRICT OF CALIFORNIA


  IN RE: FACEBOOK, INC., CONSUMER                   MDL No. 2843
  PRIVACY USER PROFILE LITIGATION                   Case No. 18-md-02843-VC


                                                    ORDER TO SUBMIT FLASH DRIVE
  This document relates to:

  ALL ACTIONS

       Facebook is ordered to deliver a flash drive to Judge Chhabria’s chambers by

November 12, 2018, with the attachments that were filed in connection with Michael Duffey’s

Declaration in support of the Motion to Dismiss (Dkt. No. 187). Each document on the flash

drive should be the filed version of the PDF (including the ECF stamp at the top). The file name

of each document should include the name of the document, a brief description of the document,

and the docket number in brackets. For example, the file name for the first attachment would be

“Ex 1-2005 Terms of Use [187-1].”
       If subsequent filings by either side include more than seven exhibits, the documents filed

should be organized on a flash drive as described above and provided to chambers within 7 days

of the filings. If any response has seven or fewer exhibits, no flash drive is necessary and ECF

filing is sufficient. The parties should continue to file each exhibit as a separate PDF document

on ECF.

       IT IS SO ORDERED.

Dated: November 5, 2018
                                             ______________________________________
                                             VINCE CHHABRIA
                                             United States District Judge
